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                                                           Hearing Date: December 14, 2011


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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                        :
 In re                                  :          Chapter 11
                                        :          Case No. 08-13555 (JMP)
 LEHMAN BROTHERS HOLDINGS INC., et al., :
                                        :
               Debtors.
                                        :
                                        :
                                        :
 In re                                  :
                                        :
 LEHMAN BROTHERS INC.,                  :          Case No. 08-01420 (JMP) SIPA
                                        :
               Debtor.                  :
                                        :




       RESPONSE OF JPMORGAN CHASE BANK, N.A. TO OBJECTION TO
    PORTIONS OF PROOFS OF CLAIM NO. 66462 AGAINST LEHMAN BROTHERS
       HOLDINGS INC. AND NO. 4939 AGAINST LEHMAN BROTHERS INC.
              REGARDING TRIPARTY REPO-RELATED LOSSES
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 TO THE HONORABLE JAMES M. PECK,
 UNITED STATES BANKRUPTCY JUDGE:

                JPMORGAN CHASE BANK, N.A. (“JPMorgan”), by and through its

 undersigned counsel, hereby submits this response (the “Response”) to the “Objection to

 Portions of Proofs of Claim No. 66462 Against Lehman Brothers Holdings Inc. and No. 4939

 Against Lehman Brothers Inc. of JPMorgan Chase Bank, N.A. Regarding Triparty Repo-Related

 Losses,” dated August 31, 2011 (the “Objection”), filed by Lehman Brothers Holdings Inc.

 (“LBHI”) and its official creditors committee (the “Committee,” together the “Objectors”).

 Capitalized terms used herein without definition have the meanings ascribed thereto in the

 Objection, and LBHI and LBI are referred to jointly as “Lehman.” In support of its Response,

 JPMorgan respectfully states as follows:


                                 PRELIMINARY STATEMENT

                Following Lehman’s massive defaults in repaying JPMorgan’s clearing-related

 extensions of credit, JPMorgan was left with the monumental task of selling the securities

 collateral posted by Lehman in what might well be the largest liquidation of securities collateral

 ever. The LBI securities collateral left for JPMorgan to sell were the securities that Barclays

 chose not to purchase when it acquired LBI’s business and most of its assets. Objectors

 themselves concede that much of the securities collateral remaining after the sale was highly

 illiquid and lacked any price information through Bloomberg. See Objection ¶ 57. Even worse

 than the LBI collateral was the collection of securities that LBHI had posted as collateral, which

 was entirely illiquid. Furthermore, Lehman’s bankruptcy, together with the prospects for failure

 of several other systemically important firms, confronted JPMorgan with tumultuous markets as

 further obstacles to achieving successful sales.
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                JPMorgan tackled this daunting task with a high degree of professionalism,

 devoting enormous resources from its world-class securities trading operation. JPMorgan timely

 analyzed the more than 4,600 different securities that Barclays left behind, and allocated them to

 the appropriate trading desks for further analysis and sales that were targeted, strategic and

 informed. JPMorgan’s traders sold what they could reasonably sell at favorable prices and

 protected the Lehman estates by not forcing a fire sale of the most illiquid securities. JPMorgan

 was successful in generating more than $18 billion of cash proceeds – representing nearly 90%

 of the securities’ undiscounted marks provided by pricing vendors, Lehman and other dealers,

 and were reflected on JPMorgan’s systems as of September 17, 2008 – through commercially

 reasonable sales of the LBI securities collateral in some of the most difficult markets in modern

 times.


                Any dispassionate review of the results of JPMorgan’s efforts would conclude

 that, not only did JPMorgan conduct a commercially reasonable collateral liquidation, but that

 JPMorgan did a far better job of selling Lehman securities than Lehman did itself in the

 transaction with Barclays Capital. The combination of the proceeds from JPMorgan’s hugely

 successful sales, the $8.6 billion of cash collateral that had been posted by LBHI, and

 JPMorgan’s decision not to engage in fire sales made it possible for LBHI’s estate to obtain from

 JPMorgan billions of dollars of illiquid securities pursuant to the Collateral Disposition

 Agreement. The assets underlying those securities — principally real estate and corporate loans

 — now constitute a significant portion of the chapter 11 estate’s assets which are being turned

 into cash over a period of years by the estate and its professionals. JPMorgan’s success in

 achieving excellent recoveries, for which it charged Lehman nothing, redounded not only to its

 own benefit, but to Lehman’s benefit as well.



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                Rather than acknowledging the reality that JPMorgan achieved an outstanding

 overall result, however, Objectors have seen fit to pick through the more than 4,400 securities

 sale transactions conducted by JPMorgan and second-guess, and take potshots at, a mere handful

 of them in an effort to portray JPMorgan as both unconcerned about the results of its liquidation

 efforts and overreaching. Objectors’ challenges are meritless and totally divorced from the

 realities of the markets when the sales occurred. For example, Objectors resurrect their argument

 – already rejected by this Court in their unsuccessful Rule 60(b) challenge to the Barclays

 transaction, see In re Lehman Brothers Holdings Inc., 445 B.R. 143, 182-87 (Bankr. S.D.N.Y.

 2011) [hereinafter 60(b) Decision] – that stale, theoretical, often unrealistic prices for Lehman’s

 illiquid structured securities represent the amount for which they could have been sold in those

 markets. Even more obtusely, Objectors assert that JPMorgan’s traders should have conducted

 public auctions of the securities, without any apparent recognition that public auctions would

 have turned an orderly and highly successful sales process into a fire sale of epic proportions.

 Evidently determined to attack JPMorgan at every turn, with or without good reason, Objectors

 even engage in the perverse exercise of criticizing JPMorgan for not charging Lehman for the

 cost of the liquidation.


                Objectors also accuse JPMorgan of taking many securities onto its own books for

 its own advantage. Again they disregard the economic realities that made doing so to Lehman’s

 advantage. Due to the state of the markets following Lehman’s failure, sometimes the best

 alternative was for JPMorgan to accept the risk of further market deterioration and purchase the

 securities itself. In almost all of these instances, the securities were liquid and sold in recognized

 markets — though the quantities to be sold often far exceeded normal transaction size and the

 ability of the weakened markets to absorb them — and JPMorgan solicited bids and matched or



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 topped any bids received. Though JPMorgan’s willingness to shoulder this additional risk

 worked to Lehman’s benefit, much of Objectors’ harshest criticism is aimed at those transactions

 in which JPMorgan accepted the risk but ultimately recovered on those securities more than it

 paid for them. In any event, those transactions accounted for just a small percentage of the total,

 and it was inevitable that JPMorgan would later recover on some securities more than it paid.

 Particularly in view of the volatility of the markets, that occasional outcome says nothing about

 the fairness of the initial price obtained on those trades. And, of course, Objectors barely

 mention the numerous instances in which JPMorgan recovered less than it paid.


                Objectors assert two additional claim objections: (1) LBHI is somehow entitled

 to the alleged consideration paid by Barclays in settlement of JPMorgan’s claim against Barclays

 for a breach of Barclays’ own separate representation to JPMorgan, even though LBHI was not a

 party to the settlement and the settlement agreement states that LBHI is not entitled to any

 benefit thereunder; and (2) based on the indisputably premature and unwarranted assumption that

 Objectors will prevail in their undecided adversary proceeding (the “Adversary Proceeding”),

 JPMorgan’s claim for postpetition interest should be disallowed. Neither of these positions has

 any merit, as shown in detail below.


                Admittedly, the Objection cannot be entirely decided solely on the parties’ initial

 submissions. This Response is intended to give an overview of JPMorgan’s positions. In due

 course, JPMorgan will file motions addressed to matters of law and present evidence supporting

 its positions as appropriate on a motion for summary judgment or at an evidentiary hearing.

 JPMorgan looks forward to the opportunity to demonstrate fully that – in the most difficult of

 circumstances – it conducted the sales with a high degree of professionalism and in a

 commercially reasonable manner, obtained fair market values for the securities sold, and


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 achieved by the diligence and hard work of its traders excellent results that conferred a

 substantial benefit on the Lehman estates.


                                          BACKGROUND

 A.      JPMorgan’s claims against LBI under the Clearance Agreement

                1.      From June 2000 through September 2008, JPMorgan served as LBI’s

 primary securities clearing bank. In that capacity, JPMorgan facilitated the clearance and

 settlement of securities transactions on behalf of LBI, including acting as agent for LBI and its

 customers in connection with triparty repurchase agreements (referred to as “triparty repos”), all

 in accordance with the Clearance Agreement entered into between LBI and JPMorgan in June

 2000 (as amended from time to time, and including the related Custodial Undertakings for

 triparty repos, the “Clearance Agreement,” see Ex. A).


                2.      Throughout the term of the Clearance Agreement, JPMorgan extended

 credit to LBI at the start of each trading day to settle (or “unwind”) the outstanding triparty repos

 by paying to the triparty repo investors, on LBI’s behalf, the repurchase price for those repos.

 Contemporaneously with such payments, JPMorgan transferred the repurchased securities from

 the triparty repo investors’ overnight collateral accounts (referred to as “shells”) back into LBI’s

 clearance accounts so that the securities would be available intraday for LBI’s broker-dealer

 activities.


                3.      During the course of each trading day, JPMorgan cleared and settled

 securities transactions for LBI and extended intraday credit to LBI to facilitate the clearance and

 settlement of those securities transactions. At the end of each trading day, JPMorgan’s

 extensions of credit would typically be fully repaid through a combination of the purchase prices



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 paid by triparty repo investors and the proceeds of other LBI financings. When JPMorgan was

 not fully repaid by the end of the trading day, JPMorgan would typically make an overnight “fail

 financing” to LBI, i.e., an overnight loan secured by securities collateral not allocated to triparty

 repo shells. Pursuant to Section 11 of the Clearance Agreement, LBI granted JPMorgan a

 security interest in all of its accounts, all of the securities, cash and other property in such

 accounts, and all of the proceeds thereof (collectively, the “LBI Collateral,” and the securities

 portion of the LBI Collateral, the “LBI Securities Collateral”) to secure LBI’s obligations to

 JPMorgan under the Clearance Agreement. See Ex. A, § 11.


                 4.      Even after LBHI commenced its chapter 11 case before the opening of

 trading on September 15, 2008, JPMorgan continued to clear and settle LBI’s securities activities

 during the week of September 15 through September 19, 2008, and, in connection therewith,

 extended tens of billions of dollars of credit to LBI pursuant to the Clearance Agreement each

 day. JPMorgan’s ongoing support avoided a mass fire sale of LBI’s securities portfolio by

 triparty repo investors and other creditors exercising default rights. JPMorgan’s continued

 financing also made possible the sale of LBI’s business and much of its assets as a going concern

 to Barclays Capital Inc. (“Barclays”), together with the attendant preservation of jobs, orderly

 transfer of thousands of LBI customer accounts, and mitigation of systemic risk. See 60(b)

 Decision, 445 B.R. 143, 153.


                 5.      Notwithstanding Lehman’s assurances to JPMorgan that, upon

 consummation of the Barclays’ transaction, Lehman would sell the securities in LBI’s triparty

 repo book to Barclays and would repay in full all of JPMorgan’s extensions of credit under the

 Clearance Agreement, Lehman did not do so. Consequently, JPMorgan was left with

 $25,279,675,964 of unpaid extensions of credit following the commencement by the Securities


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 Investor Protection Corporation (“SIPC”) of LBI’s liquidation proceeding (the “LBI

 Proceeding”) under the Securities Investor Protection Act, which resulted in an order dated

 September 19, 2008 (the “LBI Liquidation Order”), appointing James W. Giddens as trustee (the

 “LBI Trustee”).1 JPMorgan validly and timely filed proof of claim number 4939 in the LBI

 Proceeding for that claim (the claim, together with all interest accrued thereon and related

 amounts owing by LBI, the “LBI Clearance Claim”). See JPMorgan’s Proof of Claim No. 66462

 Against LBHI (Ex. B), Amended and Restated Annex to the JPMorgan Proof of Claim Against

 LBI, at 2.


                   6.       On September 22, 2008, JPMorgan entered into the Services and

 Settlement Agreement (the “SSA,” see Ex. C) with LBHI, the LBI Trustee, SIPC and Barclays.

 Pursuant to the SSA, LBHI, the LBI Trustee and SIPC expressly consented to the exercise by

 JPMorgan of its contractual rights with respect to any securities contract, repurchase agreement,

 swap agreement and other safe-harbor contracts with LBI notwithstanding any provision of the

 LBI Liquidation Order or otherwise. As described below, JPMorgan exercised its rights as a

 secured creditor, in accordance with the Clearance Agreement and the SSA and in compliance

 with applicable law, against the LBI Securities Collateral to recover most of the LBI Clearance

 Claim.


 B.       JPMorgan’s claims against LBHI under the August and September Agreements

                   7.       On or about August 29, 2008, LBHI executed and delivered to JPMorgan

 the August Agreements whereby LBHI, among other things, (a) guaranteed payment of all

 obligations owing by LBI to JPMorgan under the Clearance Agreement, see August Guaranty

 1
           This claim amount is as of October 1, 2008, and gives effect to the postpetition cure of certain failed
 securities transactions and receipt of certain payments in accordance with the LBI Liquidation Order and the
 Services and Settlement Agreement discussed infra ¶¶ 6, 29-30.


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 (Ex. D), and (b) secured such obligations by granting a security interest in favor of JPMorgan in

 collateral (the “LBHI Securities Collateral”) comprising certain accounts, the cash, securities and

 other property contained in such accounts (including securities known as Fenway, Spruce,

 Verano and Pine), and the proceeds thereof, see August Security Agreement (Ex. E).


                 8.     On or about September 10, 2008, LBHI executed and delivered to

 JPMorgan the September Agreements whereby LBHI, among other things, (a) guaranteed the

 payment of all obligations owing by all of LBHI’s subsidiaries to JPMorgan and all of its

 subsidiaries and affiliates, including LBI’s obligations to JPMorgan under the Clearance

 Agreement, see September Guaranty (Ex. F), and (b) secured those obligations by granting a

 security interest in favor of JPMorgan in all of its accounts, the securities, cash and other

 property contained in such accounts, and the proceeds thereof, see September Security

 Agreement (Ex. G). In addition, from September 9 through September 12, 2008, LBHI delivered

 to JPMorgan a total of approximately $8.6 billion of cash and money market fund collateral (the

 “LBHI Cash Collateral” and, together with the LBHI Securities Collateral, the “LBHI

 Collateral”).


                 9.     On LBHI’s motion, which the Federal Reserve Bank of New York and

 JPMorgan supported, this Court entered an order on September 16, 2008, (a) confirming that the

 extensions of credit made on and after September 15, 2008, under the Clearance Agreement

 would be allowed as claims under the August Agreements and September Agreements and

 secured by the LBHI Collateral to the same extent as if such extensions had been made prior to

 the commencement of LBHI’s chapter 11 case, and (b) authorizing such extensions under section

 364 of the Bankruptcy Code to the extent that they constituted postpetition incurrence of debt.




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 See Order Pursuant to Section 105 of the Bankruptcy Code Confirming Status of Clearing

 Advances, D.I. 47 (Bankr. S.D.N.Y. Sept. 16, 2008) (Ex. H).


                10.     As a result of the August Agreements and September Agreements,

 JPMorgan had a claim against LBHI for the amount of the LBI Clearance Claim secured by the

 LBHI Collateral. JPMorgan duly and timely filed amended proof of claim number 66462 in

 LBHI’s chapter 11 case for that claim (the claim against LBHI, together with all interest accrued

 thereon and related amounts owing by LBHI, the “LBHI Deficiency Claim”). See Ex. B.


 C.     JPMorgan’s sale of LBI Securities Collateral

                11.     Following the commencement of the LBI Proceeding, JPMorgan applied

 account balances and transferred a substantial amount of the LBI Securities Collateral to cash

 purchasers in accordance with prepetition instructions from LBI, all in accordance with the SSA

 and the LBI Liquidation Order. Even after this was accomplished, however, JPMorgan was still

 owed more than $25 billion under the Clearance Agreement as described above. JPMorgan had

 no choice but to exercise its rights as a secured creditor against the LBI Collateral and the LBHI

 Collateral to recover on the huge balance still owing to it as a result of Lehman’s defaults.


                12.     The task facing JPMorgan was enormous. There were more than 4,600

 different securities CUSIPs in the LBI Securities Collateral. A substantial portion of the LBI

 Securities Collateral consisted of high-quality, readily-marketable securities, such as U.S.

 Treasury and agency debt instruments. But much of the LBI Securities Collateral was

 substantially more difficult to sell and value, including USAID bonds, asset-backed commercial

 paper, auction rate securities (“ARS,” both preferred stock and municipal bonds), common stock,

 convertible stock, American Depositary Receipts (“ADRs”), high-yield corporate bonds, general



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 obligation municipal bonds, nonprofit-organization bonds, agency mortgage pass-through

 securities, subprime mortgage-backed securities, collateralized debt obligations (“CDOs”)

 backed by real estate and other investments, collateralized loan obligations (“CLOs”) backed by

 corporate loans, residential mortgage-backed securities, commercial mortgage-backed securities

 and other structured credits. Objectors themselves estimate that more than 30% of the LBI

 Securities Collateral was illiquid and lacked price information on Bloomberg. See Objection

 ¶ 57.


                13.     The LBHI Securities Collateral was even worse. It consisted of a small

 number of very large denomination securities, all of which were illiquid. Indeed, JPMorgan was

 never able to sell any of them.


                14.     As it embarked upon the liquidation process, during one of the most

 tumultuous periods in American financial history, JPMorgan had no basis for confidence that the

 LBI Securities Collateral could be sold in the then current markets for amounts sufficient to

 satisfy in full the LBI Clearance Claim, or that the LBI Collateral and the LBHI Collateral could

 satisfy all of the claims secured thereby. The marks (without any discount or haircut, the “Pre-

 Failure Marks”) recorded in the JPMorgan Treasury and Securities Services (“TSS”) system had

 been provided by LBI, other broker-dealers and third-party vendors. While the Pre-Failure

 Marks for highly liquid, readily marketable securities were generally based on observable market

 transactions, the marks for securities with no or relatively few trades were far less reliable. In

 many cases, the Pre-Failure Marks were based on financial models reflecting a theoretical

 “inherent” value if the securities were held to maturity rather than sold in the then current

 discount-ridden market. In other cases, the Pre-Failure Marks were based on stale transaction

 information or supposedly comparable sales of similarly rated securities (even when downgrades


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 of the Lehman-posted securities now appeared imminent). Perhaps the least reliable were

 Lehman’s own marks, often at par or other inflated values and often covering securities

 structured by Lehman itself, for which little information was available. For some of these

 structured securities, the mark was derived from Lehman’s own credit support, precisely the risk

 that the collateral was intended to secure against.


                15.     Thus, even before Lehman failed many of the Pre-Failure Marks for the

 LBI Securities Collateral and LBHI Securities Collateral were not reliable indicators of the

 prices at which such securities could actually be sold in the markets. But JPMorgan had to

 contend with markets that were in turmoil as a result of Lehman’s bankruptcy, not to mention the

 prospect of possible failures of AIG, Goldman Sachs, Morgan Stanley and other systemically

 important firms. Those markets had fallen generally and were continuing to fall, and the few

 purchasers remaining in the market had a strong aversion to risk. Thus, real estate-based

 securities and other structured securities were selling at steep discounts from their inherent

 values, subordinate and mezzanine positions were viewed as undesirable, and selling failed

 securities such as ARS presented extraordinary challenges. Furthermore, many of the LBI

 securities positions were so large that sales of such outsized positions could themselves

 significantly affect the prices of those securities. Even worse, a number of securities valued in

 the aggregate by Lehman at several billion dollars were structured with credit support from

 LBHI or one of its now-defunct subsidiaries.


                16.     JPMorgan thus viewed recovery on its claims under the Clearance

 Agreement as vitally dependent on the values that it could obtain from the disposition of the LBI

 Collateral, and recognized that maximizing its recovery would require traders with expertise in




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 the relevant markets to execute transactions effectively. By any measure, JPMorgan had a

 substantial economic stake in the success of the securities sales.


                17.     Although the LBI Clearance Claim originated in JPMorgan’s TSS

 business line, JPMorgan determined that using its Investment Bank business line to handle the

 sale would optimize the sales’ results because the Investment Bank had a world-class securities

 trading operation and experienced personnel with extensive expertise in trading a wide range of

 securities. The sales effort by the Investment Bank was known internally as Project Tassimo.


                18.     JPMorgan sought to maximize the proceeds to be obtained from the LBI

 Securities Collateral by conducting the sales as if it were acting on behalf of a customer. No

 single sales method would optimize the sale of all of the LBI Securities Collateral; a U.S.

 Treasury bond should not be sold in the same manner as a subordinated CDO tranche, and an

 ARS municipal bond could not be sold in the same manner as a high-yield corporate bond.

 Thus, JPMorgan grouped the LBI Securities Collateral so that similar securities could be

 allocated to traders with expertise and experience in selling collateral of that type. The traders

 were instructed to use their expertise to sell the securities to maximize the sale proceeds. In

 some instances this meant selling the securities in the usual manner in a recognized market for

 those securities; in others, it meant selling at the current price in a recognized market; and in

 others, it meant selling in conformity with reasonable commercial practices among dealers in the

 type of security to be sold. The traders were instructed not to charge brokerage fees or similar

 charges, even though JPMorgan was entitled to payment of reasonable brokerage fee

 commissions under Sections 11(c) and 16 of the Clearance Agreement. See Ex. A, §§ 11(c), 16.




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                 19.     JPMorgan acted appropriately, fairly and diligently in selling the LBI

 Securities Collateral. It recognized that the markets could continue to fall and did not want to

 expose itself or Lehman unnecessarily to continued market exposure. Thus, many of the highest-

 quality, most-liquid securities were sold within days of the commencement of Project Tassimo,

 during the week of September 22, 2008. Other securities, however, required weeks or months to

 sell on favorable terms. As discussed below, more than 850 of the securities were never sold by

 JPMorgan because they could not be sold at acceptable prices.


                 20.     Due to the scarcity of purchasers in the markets following Lehman’s

 failure, the best alternative in a number of instances was for JPMorgan to purchase certain

 securities itself and thereby accept the risk of further market deterioration. In almost all of these

 instances, the securities were of a type that was liquid and sold in recognized markets (though

 the quantities often far exceeded normal transaction size), and JPMorgan matched or topped any

 other bids received. In almost all of these instances, widely-distributed standard prices were

 available and the prices paid by JPMorgan were at or near those prices. In some instances,

 JPMorgan was ultimately able to recover on the purchased securities more than it paid, and in

 others it recovered less than it paid.


                 21.     JPMorgan assembled a group of professionals from its Investment Bank’s

 Special Situations Group (“SSG,” which included Mr. Costango, who is referenced in the

 Objection) to coordinate the identification and allocation of LBI Securities Collateral to trading

 desks, collect sales information from the traders, and coordinate with the TSS group. The SSG

 personnel played an important role in organizing and coordinating Project Tassimo, but SSG

 personnel did not sell securities and were not responsible for determining appropriate prices.

 The expertise and market acumen of JPMorgan traders, not SSG personnel, was used to effect


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 the sale of LBI Securities Collateral. And the fact that more than 850 securities were not sold

 evidences that JPMorgan’s traders exercised substantial discipline in not selling securities for

 unreasonably low prices.


                22.     The LBHI Securities Collateral (Fenway, Spruce, Verano, and a small

 remaining amount of Pine) and substantial portions of the LBI Securities Collateral (including

 the RACERS, SASCO and Kingfisher securitizations) were difficult to sell for a price that would

 have been satisfactory to JPMorgan because there was little available information about the

 assets underlying those securitizations. In November 2008, JPMorgan requested that LBHI

 provide it information about the underlying assets so that JPMorgan could effectively market

 those securities, but LBHI refused (apart from limited cooperation in attempting to derive some

 value from Kingfisher). Indeed, LBHI and/or its subsidiary-debtors impeded JPMorgan’s efforts

 to derive value from Fenway and RACERS by retaining or blocking payments that should have

 been paid to the holders of Fenway and RACERS notes and that could have been used by

 JPMorgan to pay the LBHI Deficiency Claim.


                23.     After months of effort by dozens of Project Tassimo traders, JPMorgan

 ultimately was able to sell over 3,600 different CUSIPs of the LBI Securities Collateral in more

 than 4,200 separate transactions, generating more than $18 billion of cash proceeds that were

 periodically applied against the LBI Clearance Claim. Overall, JPMorgan’s efforts generated

 proceeds equal to approximately 88% of the Pre-Failure Marks as of September 17, 2008.


 D.     Collateral Disposition Agreement

                24.     Notwithstanding these efforts to sell the entirety of the LBI Securities

 Collateral described above, JPMorgan was unable to generate sufficient proceeds to pay fully the



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 LBI Clearance Claim and LBHI Deficiency Claim, as it could not sell more than 850 securities

 in the LBI Securities Collateral at acceptable prices. JPMorgan chose not to sell those securities

 at public auction or through some other means that would not generate favorable prices or would

 interfere with LBHI’s ability to realize value from the underlying assets. At the same time,

 JPMorgan understood that LBHI valued the real estate and corporate loans underlying certain of

 the unsold securities as being worth several billion dollars. Accordingly, JPMorgan initiated and

 ultimately engaged in extensive negotiations with LBHI and the other chapter 11 debtors to craft

 an agreement that would permit JPMorgan to transfer to LBHI the unsold securities (and,

 through such securities, the underlying real estate and corporate loans) so that LBHI could use its

 large staff and knowledge of the underlying assets to attempt to recover value by collecting,

 restructuring and otherwise realizing on and against those assets, in exchange for payment

 substantially in full of JPMorgan’s claims.


                25.    Pursuant to the Collateral Disposition Agreement dated as of March 16,

 2010 (the “CDA,” see Ex. I), to which JPMorgan and LBHI are parties, which this Court

 approved on March 24, 2010, D.I. 7785, (a) LBHI made a cash payment of more than $500

 million to JPMorgan (the “CDA Cash Payment”) to pay the LBHI Deficiency Claim and other

 JPMorgan claims, (b) JPMorgan returned to LBHI all of the LBHI Securities Collateral (Fenway,

 Spruce, Verano and Pine, which were valued collectively by LBHI and LBI in the billions of

 dollars), (c) LBHI was subrogated to and assigned the LBI Clearance Claim to the extent it had

 been paid by the CDA Cash Payment and application of LBHI Collateral, and (d) JPMorgan

 transferred to LBHI all of the remaining unsold LBI Securities Collateral (including RACERS,

 Kingfisher and SASCO 2008 C-2, which were valued collectively by LBI in the billions of

 dollars) as collateral for the LBI Clearance Claim. Much of the real estate and corporate loans



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 remaining in the chapter 11 estates backed the securities that JPMorgan returned or transferred to

 LBHI pursuant to the CDA. Afterward, rather than attempting to sell many of the largest

 securities itself, LBHI caused many of the embedded securitization structures to be terminated so

 LBHI could deal directly with the underlying assets.


                   26.      Under the CDA, LBHI reserved such rights as it may have had to object to

 JPMorgan’s claims and seek the return of collateral, and JPMorgan retained all of its defenses.


 E.       Payment of JPMorgan’s claims

                   27.      JPMorgan obtained provisional payment in full of its $25,279,675,964

 claim under the Clearance Agreement, together with $280,224,670 of postpetition interest, from

 the following sources:2


                   Applied prior to the March 31, 2010 closing under the CDA –


                            (a) $18,073,916,198 – proceeds of, and principal and interest distributions

                            on, LBI Securities Collateral;


                            (b) $549,294,427 – cash balance of a LBI demand deposit account;


                            (c) $272,755,947 – cash repurchase agreement adjustments and other LBI

                            account activity;


                            (d) $49,928,292 – excess LBI securities lending collateral.3




 2
           All of these amounts exclude cash transferred to Barclays under the December Settlement Agreement
 referred to infra ¶¶ 30-32.
 3
           The application of items (a) through (d) against the $25,279,675,964 claim gave rise to the $6,333,781,099
 principal balance stated as owing as of March 15, 2010 in the proofs of claim. See Ex. B, Amended and Restated
 Annex to the JPMorgan Proof of Claim Against LBHI, at 29.


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                  Applied upon the March 31, 2010 closing under the CDA –


                           (e) $31,949,277 – proceeds of, and principal and interest distributions on,

                           LBI Securities Collateral;


                           (f) $142,476,437 – prepetition cash balances in LBI prime brokerage

                           accounts4;


                           (g) $183,943,860 – principal and interest distributions on the LBHI

                           Securities Collateral;


                           (h) $5,731,602,041 – LBHI Cash Collateral;


                           (i) $524,034,154 – CDA Cash Payment.5


                  28.       Although it was not required to do so, JPMorgan first used all available

 sources of collateral and setoffs from LBI before resorting to LBHI Collateral. LBHI and the

 Committee made clear that they did not want JPMorgan to apply the LBHI Collateral against the

 LBI Clearance Claim absent agreement. For example, the Stipulation and Consent Order entered

 on November 5, 2008, relating to the Committee’s discovery demand under Rule 2004 on

 JPMorgan (the “Rule 2004 Stipulation”), D.I. 1402 (see Ex. J), required JPMorgan to advise and

 discuss with the Committee and LBHI in advance of any liquidation of the LBHI Collateral,

 including the LBHI Cash Collateral, so that the Committee and LBHI could dissuade JPMorgan

 from doing so or seek Court relief. Indeed, Objectors have now taken the position (with which

 JPMorgan disagrees) that the application of a portion of the LBHI Cash Collateral to certain


 4
          Payment of a portion of this amount was reversed pursuant to the LBI Settlement Agreement referred to
 below.
 5
          This amount was subsequently adjusted with respect to claims other than those at issue here.


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 derivative and other safe harbor claims before the Rule 2004 Stipulation violated the automatic

 stay in LBHI’s chapter 11 case. See First Amended Complaint in Adversary Proceeding

 (“Amended Complaint”), Counts XXXIII and XXXIV.


 F.     Settlements with Barclays

                29.    Section 4 of the SSA contained a settlement and mutual release between

 JPMorgan and Barclays whereby (a) JPMorgan and Barclays released each other with respect to

 certain disputes relating to LBI and its accounts at JPMorgan, including with respect to Barclays’

 alleged failure to consummate a $15.8 billion repurchase agreement on or about September 18,

 2008 (the “$15.8 Billion Repo”), and (b) Barclays agreed to withdraw a pending lawsuit

 unrelated to Lehman against an entity acquired by JPMorgan (the “Lawsuit”). See Ex. C, § 4.

 Even though LBHI and the LBI Trustee were parties to the SSA, Section 4 was an agreement

 solely between JPMorgan and Barclays, did not contain a release in favor of Lehman, did not

 require a reduction of the LBI Clearance Claim or LBHI Deficiency Claim, and did not require

 application of any funds to Lehman’s obligations. No value was attributed to the Lawsuit in the

 SSA. The SSA deals expressly and specifically with continued transactions between JPMorgan

 and LBI under the Clearance Agreement, but nothing in the SSA provides for any application of

 any value of the Lawsuit to amounts owing to JPMorgan under the Clearance Agreement.


                30.    Following execution of the SSA, JPMorgan and Barclays disagreed as to

 whether the releases in Section 4 of the SSA covered claims by Barclays that $7 billion of cash

 had been improperly deposited into one of LBI’s cash accounts instead of paid to Barclays. As a

 result, Section 4 of the SSA was not consummated and did not take effect. Nor did Barclays

 withdraw the Lawsuit. Ultimately, JPMorgan, Barclays and the LBI Trustee reached a lasting

 settlement incorporated into the Settlement Agreement dated as of December 5, 2008 (the


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 “December Settlement Agreement,” see Ex. K), which this Court approved by an order entered

 on December 22, 2008, in the LBI Proceeding. Unlike the SSA, the settlement embodied in the

 December Settlement Agreement was consummated in accordance with its terms. LBHI was not

 a party to the December Settlement Agreement.


                31.     Under the express provisions of the December Settlement Agreement, (a)

 Section 4 of the December Settlement Agreement supersedes Section 4 of the SSA, and (b)

 Section 4 of the SSA “shall have no further force or effect.” See Ex. K, § 4(a). Moreover, the

 terms of the settlement are quite different from those contemplated by the SSA. Under Section 1

 of the December Settlement Agreement, JPMorgan transferred to Barclays substantial amounts

 of securities and cash from LBI’s clearance accounts (referred to in the December Settlement

 Agreement as the “Settlement Consideration”) in lieu of the return of the $7 billion of cash

 (referred to in the December Settlement Agreement as the “Subject Funds”) that had been sought

 by Barclays. See Ex. K, § 1. Pursuant to Sections 4(b), 4(c) and 4(e) of the December

 Settlement Agreement, upon Barclays’ receipt of the Settlement Consideration, it withdrew the

 Lawsuit (which it never actually released under the SSA), and JPMorgan and Barclays released

 each other from all claims “relating to the Subject Funds, the Replacement Transaction [the $45

 billion reverse repurchase transaction between Barclays and LBI for the funding of securities that

 had been financed by the Federal Reserve Bank of New York on the evening of September 17,

 2008] or the Delivered Securities [the securities delivered by LBI to Barclays on September 18,

 2008]” as well as triparty repos relating to LBI. See Ex. K, §§ 4(b), (c), (d).


                32.     Notably, in Section 2 of the December Settlement Agreement, the LBI

 Trustee acknowledges and agrees with specificity which amounts of securities and cash are and

 are not to be applied to reduce the LBI Clearance Claim. See Ex. K, § 2. The December


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 Settlement Agreement does not, however, contemplate any application of any value of the

 Lawsuit to reduce the LBI Clearance Claim or the LBHI Deficiency Claim. Again, no value was

 attributed to the Lawsuit. Moreover, Section 5 of the December Settlement Agreement provides

 that it confers no rights on LBHI or other non-parties. See Ex. K, § 5.


 G.     Settlement with LBI

                33.    The LBI Trustee asserted several claims against JPMorgan and certain of

 its affiliates, including claims relating to alleged customer property and the claim that JPMorgan

 had not sold the LBI Securities Collateral in a commercially reasonable manner. The latter claim

 is the same claim asserted in the Objection. After extensive discovery by the LBI Trustee and

 arm’s-length negotiations, JPMorgan reached a settlement with the LBI Trustee, which is

 incorporated in the Settlement Agreement dated as of April 20, 2011 (the “LBI Settlement

 Agreement,” see Ex. L) among JPMorgan and its relevant affiliates and the LBI Trustee,

 approved by this Court in the SIPA proceeding.


                34.    Under Section 2(a) of the LBI Settlement Agreement, LBI released its

 claims against JPMorgan, including the alleged customer property claims and all of the

 objections asserted by Objectors here as to the LBI Clearance Claim. See Ex. L, § 2(a). In

 addition, the LBI Trustee agreed to the allowance in full of the LBI Clearance Claim in the LBI

 Proceeding. See Ex. L, § 3.


                35.    LBHI consented to this Court’s approval of the LBI Settlement

 Agreement, and the Committee agreed not to object to it, in exchange for the inclusion of the

 following paragraph in this Court’s June 23, 2011, order approving the LBI Settlement

 Agreement:



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                ORDERED that except with respect to the Specified Claims described
                in Sections A.(1) through A.(7) of the Settlement Agreement,
                notwithstanding the releases contained in the Settlement Agreement or
                the allowance of claims of JPMorgan against LBI pursuant to the
                Settlement Agreement, neither the Settlement Agreement nor the entry
                of this Order shall have any effect on LBHI’s or its official creditors’
                committee’s (the “Committee”) rights, claims or defenses, either
                directly or derivatively, in the SIPA Proceeding, in connection with the
                Chapter 11 Cases, or in any related adversary proceeding, including,
                but not limited to, those that may be based upon derivative standing or
                standing as a customer claimant or unsecured creditor in the SIPA
                Proceeding, and the JPMorgan Releasees and the Trustee are estopped
                from asserting, in response to any claim or objection asserted by LBHI
                or the Committee, as the case may be, that any such claim or defense
                has been released under the Settlement Agreement;


 Order Approving Settlement Agreement Between Trustee, JPMorgan Chase Bank, N.A.,

 J.P. Morgan Securities LLC, and J.P. Morgan Clearing Corp, D.I. 4356, at 2 (Bankr. S.D.N.Y.

 June 23, 2011) (Ex. M). Thus, while the challenges contained in the Objection as to the LBI

 Clearance Claim have now been resolved between JPMorgan and the LBI Trustee, Objectors

 preserved their rights to assert the same challenges. JPMorgan agreed not to assert the releases

 contained in the LBI Settlement Agreement to defeat the Objection. However, the foregoing

 language does not affect LBHI’s rights and certainly does not contain any consent or admission

 by JPMorgan or the LBI Trustee to Objectors’ asserted derivative standing to object to

 JPMorgan’s claims in the LBI Proceeding, and Objectors have stated no basis for such standing

 apart from LBHI’s status as a major creditor of LBI.




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                                      RESPONSES TO OBJECTIONS

                                                      POINT I

                   JPMORGAN SOLD THE LBI SECURITIES COLLATERAL
                      IN A COMMERCIALLY REASONABLE MANNER

 A.       Legal Standard

                   36.      Under New York’s Uniform Commercial Code (“N.Y. U.C.C.”), “[a]fter

 default, a secured party may sell, lease, license, or otherwise dispose of the collateral in its

 present condition or following any commercially reasonable preparation or processing.” N.Y.

 U.C.C. § 9-610(a) (McKinney).6 A secured party’s disposition of collateral must be

 “commercially reasonable,” id. § 9-610(b), and is presumed to be commercially reasonable

 unless the “debtor or a secondary obligor places the secured party’s compliance in issue,” id. § 9-

 626(a)(1).7 If, however, the debtor or a secondary obligor places “in issue” the commercial

 reasonableness of a disposition of collateral, the burden shifts to the secured creditor to establish

 commercial reasonableness. See id. § 9-626(a)(2); Commerce Commercial Leasing, LLC v. PIO

 Enters., Inc., 78 A.D.3d 1105, 1107 (2d Dep’t 2010). A secured party can establish commercial

 reasonableness by showing either that all aspects of the sale were commercially reasonable or

 that the disposition complies with the requirements of one of the § 9-627(b) safe harbors. See


 6
   This Response includes citations to cases decided under the previous version of the N.Y. U.C.C. and the U.C.C. as
 adopted in other jurisdictions where the analysis under those statutes is the same as under the current N.Y. U.C.C.
 7
   Objectors are incorrect in their assertion that LBHI qualifies as a “debtor” for purposes of Article 9 of New York’s
 U.C.C. and has standing in such capacity to object to the commercial reasonableness of JPMorgan’s disposition of
 LBI collateral under N.Y. U.C.C. § 9-626(a)(1). The cases cited by Objectors for this supposed proposition all
 interpret the definition of “debtor” under the previous version of New York’s U.C.C. But as the comments to the
 current U.C.C. explain, revised Article 9 “redefines ‘debtor’ and adds new defined terms, ‘secondary obligor’ and
 ‘obligor’” to reduce the need to examine the context in which the term “debtor” was used to determine its
 applicability. N.Y. U.C.C. § 9-102(a) cmt. 2. The comments further explain that “debtors” are “those persons who
 may have a stake in the proper enforcement of a security interest by virtue of their non-lien property interest
 (typically, an ownership interest) in the collateral.” Id. “Secondary obligors,” on the other hand, are “those persons
 who may have a stake in the proper enforcement of the security interest because of their obligation to pay the
 secured debt.” Id. Because LBHI had no property interest in the LBI Securities Collateral prior to the transfers
 under the CDA, and then acquired only a lien, LBHI is not a “debtor” for purposes of Article 9 of the N.Y. U.C.C.
 and is, at most, a secondary obligor.


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 N.Y. U.C.C. §§ 9-610(b), 9-627; see also Hicklin v. Onyx Acceptance Corp., 970 A.2d 244, 249-

 50 (Del. 2009) (applying Delaware statute adopting §§ 9-610 and 9-627).


                37.     In the event that a secured party is unable to prove the commercial

 reasonableness of its disposition of collateral, the “rebuttable presumption” rule applies. Under

 the “rebuttable presumption” rule, “the debtor or obligor is to be credited with the greater of the

 actual proceeds of the disposition or the proceeds that would have been realized had the secured

 party complied with the relevant provisions,” which is presumed to be “equal to the sum of the

 secured obligation, expenses, and attorney’s fees” unless the secured party proves that the

 amount is less than the sum. N.Y. U.C.C. § 9-626(a)(3)-(4) & cmt. 3; see also ESL Fed. Credit

 Union v. Bovee, 801 N.Y.S.2d 482, 488 (Sup. Ct. 2005) (explaining rebuttable presumption rule

 as “presumption that the security was equal to the debt and that the secured party has the burden

 of proof to overcome such presumption” (quoting Rochester v. Thomas, 59 A.D.3d 242, 246 (4th

 Dep’t 1977)) (internal quotation marks omitted)).


                38.     Contrary to Objectors’ assertions, they are not entitled to prove any

 damages caused by the secured creditor’s failure to comply with the requirement of the U.C.C.

 under the so-called “setoff rule.” Objectors cite a case interpreting the former § 9-507(1) of the

 N.Y. U.C.C., see Objection ¶ 42 (citing Siemens Credit Corp. v. Marvik Colour, Inc., 859 F.

 Supp. 686 (S.D.N.Y. 1994)), without acknowledging that the revisions to Article 9 superseded

 that case and adopted the “rebuttable presumption” rule, and only the “rebuttable presumption”

 rule, as the appropriate remedy. See Coxall v. Clover Commercial Corp., 781 N.Y.S.2d 567, 576

 (Civ. Ct. 2004) (recounting divergent approaches to prescribing remedy for noncompliance

 under former U.C.C. § 9-504, including under the so-called “setoff rule,” and explaining that

 “Revised Article 9 resolves the conflict and uncertainty for transactions other than consumer


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 transactions by adopt[ing] the ‘rebuttable presumption’ rule”). Consistent with this adoption of

 the “rebuttal presumption” rule, revised § 9-625(d) states that “a debtor or secondary obligor

 whose deficiency is eliminated or reduced under Section 9-626 may not otherwise recover under

 subsection (b) for noncompliance with the provisions of this part relating to collection,

 enforcement, disposition, or acceptance.” N.Y. U.C.C. § 9-625(d).


 B.     JPMorgan’s liquidation of the LBI Securities Collateral was commercially
        reasonable under Article 9 of the N.Y. U.C.C.

                39.     As an initial matter, Objectors have failed to put “in issue” the commercial

 reasonableness of JPMorgan’s disposition of most of the LBI Securities Collateral, so the burden

 does not shift regarding the sale of that collateral. Objectors have identified only a handful of the

 more than 4,400 sale transactions conducted by JPMorgan that they allege were conducted in a

 commercially unreasonable manner. For instance, in alleging that the sale prices were

 commercially unreasonable, Objectors identify several securities that they claim were sold at low

 prices but fail to address the rest, either individually or in the aggregate. Cf. Bankers Trust Co.

 v. J.V. Dowler & Co., Inc., 47 N.Y.2d 128, 135 (1979) (evaluating average price of bonds sold,

 not individual prices of each bond sold, in evaluating commercial reasonableness of sale).

 Similarly, Objectors identify only a limited number of securities that they allege JPMorgan

 improperly sold to itself. Apart from making wholly irrelevant assertions regarding the

 background and supervision of individuals helping to coordinate the administration of the

 liquidation process, see infra ¶¶ 56-57, Objectors failed to put in issue the commercial

 reasonableness of the vast majority of the sales of LBI Securities Collateral by JPMorgan. See

 Lincoln First Bank, N.A. v. Salvaterra, 437 N.Y.S.2d 611, 613 (Cnty. Ct. 1981) (recognizing that

 “naked assertions of impropriety in the sale cannot overcome the presumption of commercial




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 reasonableness”). Accordingly, JPMorgan need not prove the commercial reasonableness of its

 disposition of the collateral the Objectors have not specifically identified.


                40.     Even assuming arguendo that Objectors successfully put “in issue” the

 commercial reasonableness of JPMorgan’s entire liquidation of the LBI Securities Collateral,

 JPMorgan demonstrably acted in a commercially reasonable manner. Not only did JPMorgan’s

 liquidation fall within the scope of § 9-627(b)’s safe harbors, but every aspect of the liquidation

 was commercially reasonable.


                1.      JPMorgan’s liquidation fell within section 9-627(b)’s safe harbors

                41.     Section 9-627(b) of the N.Y. U.C.C. sets forth three sets of circumstances

 in which the disposition of collateral will conclusively be found to be commercially reasonable:

                A disposition of collateral is made in a commercially reasonable
                manner if the disposition is made:

                        (1) in the usual manner on any recognized market;

                        (2) at the price current in any recognized market at the time of
                        the disposition; or

                        (3) otherwise in conformity with reasonable commercial
                        practices among dealers in the type of property that was the
                        subject of the disposition.

                42.     JPMorgan’s disposition of the LBI Securities Collateral was done largely

 in the usual manner and at the then-current price in recognized markets, and all collateral was

 sold in conformity with reasonable commercial practices among dealers of the types of securities

 being sold. Accordingly, JPMorgan’s disposition of the LBI Securities Collateral was

 commercially reasonable.




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                        a.     JPMorgan sold most of the LBI Securities Collateral in the
                               usual manner in recognized markets

                43.     Under § 9-627(b)(1) of the N.Y. U.C.C., a sale of collateral in the usual

 manner on a recognized market is per se commercially reasonable. See Bankers Trust, 47

 N.Y.2d at 135 (secured party’s sale of bonds through “regular market channels” was “immune to

 attack on the grounds of commercial unreasonableness”); see also Layne v. Bank One, Ky., N.A.,

 395 F.3d 271, 279-280 (6th Cir. 2005) (interpreting Kentucky’s statute adopting § 9-627 to mean

 that “where the collateral is sold in a recognized market, Kentucky courts have found the

 transaction to be commercially reasonable as a matter of law”); Suffield Bank v. LaRoche, 752 F.

 Supp. 54, 59 (D.R.I. 1990) (sale of pledged stock on the American Stock Exchange “ensured that

 its sale was commercially reasonable and beyond the scrutiny of this Court”). As the comments

 to § 9-627 explain, a “recognized market” applies to “markets in which there are standardized

 price quotations for property that is essentially fungible.” N.Y. U.C.C. § 9-627 cmt. 4.


                44.     JPMorgan obtained the vast majority of proceeds from securities that are

 sold on a recognized market. Case law has acknowledged that a number of types of securities

 included in the LBI Securities Collateral are traded on recognized markets – such as U.S.

 Treasuries and agency debt, see Washburn v. Union Nat’l Bank & Trust Co. of Juliet, 502

 N.E.2d 739, 742 (Ill. App. 1986) (“Ginnie Mae bonds are customarily sold on a recognized

 market”), equity securities, see N.Y. U.C.C. § 9-627 cmt. 4 (identifying stocks as being sold on a

 “recognized market”), and municipal bonds, see Bankers Trust, 47 N.Y.2d at 135 (municipal

 bonds held as collateral were securities “customarily sold on a recognized market”) – and many

 of the other fixed-income and structured securities in the LBI Securities Collateral are sold on

 recognized markets as well.




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                45.     Moreover, JPMorgan sold those securities in the usual manner on those

 recognized markets. It used professional traders who specialize in trading those types of

 securities, and the traders used their customary means to sell the LBI Securities Collateral—

 either by selling the securities directly on exchanges, see, e.g., Ex. O (documenting JPMorgan’s

 sale of equities on exchanges); Layne, 395 F.3d at 280-81 (disposition of shares through sale on

 NASDAQ commercial market was commercially reasonable), or by soliciting bids, see, e.g.,

 Ex. P (documenting JPMorgan’s process of solicitation of likely bidders for corporate bonds);

 Bankers Trust, 47 N.Y.2d at 133, 135 (bank sold municipal bonds through “regular market

 channels” by using its municipal-bonds department to solicit bids for the bonds); Washburn, 502

 N.E.2d at 742 (bank followed usual procedures for sale of Ginnie Mae bonds held as collateral

 by soliciting bids from three firms and accepting best price). The sale of those securities is

 therefore conclusively commercially reasonable under § 9-627(b)(1) of the N.Y. U.C.C.


                46.     Even if there were instances in which JPMorgan sold a security in

 something other than the usual manner on any recognized market, it sold securities at the price

 current in the market at the time of sale and, thus, acted in a commercially reasonable manner.

 See N.Y. U.C.C. § 9-627(b)(2).


                        b.     JPMorgan acted in conformity with reasonable commercial
                               practices among dealers

                47.     JPMorgan’s disposition of all of the collateral is per se commercially

 reasonable because it was all conducted “in conformity with reasonable commercial practices

 among dealers in the type of property that was the subject of the disposition.” N.Y. U.C.C. § 9-

 627(b)(3).




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                 48.      Courts have found § 9-627(b)(3) satisfied where, as JPMorgan did in

 selling the LBI Securities Collateral, the secured party used a well-known and widely-used

 dealer in the type of collateral to dispose of the collateral. See, e.g., Colonial Pac. Leasing Corp.

 v. Elite S-W Mo., Inc., 2010 WL 3119448, at *2, *5 (W.D. Mo. Aug. 4, 2010) (disposition of

 motor vehicle as collateral conformed to reasonable commercial practices among motor-vehicle

 dealers when an auctioneer, who specialized in selling motor vehicles to dealers and whom

 dealers—including the debtor—frequently used to buy and sell vehicles, sold the vehicle

 collateral); Davis v. Concord Commercial Corp., 434 S.E.2d 571, 576 (Ga. App. 1993) (use of

 “expert dealer” experienced in selling type of goods at issue conformed to reasonable

 commercial practices among dealers in the type of property sold); First Nat’l Bank of Glens

 Falls v. G.F. Clear, Inc., 93 A.D.2d 925 (3d Dep’t 1983) (secured party’s sale of collateral was

 commercially reasonable because it used well-qualified and experienced auctioneer to seek out

 prospective purchasers). As described above, JPMorgan has a major, world-class securities

 trading operation and used its professional traders to sell the LBI Securities Collateral.

 JPMorgan assigned responsibility for the sale of each security to a trading desk with expertise in

 that type of security.


                 49.      The traders responsible for selling the LBI Securities Collateral used the

 same means and methods of selling the securities as they did in their normal course of business,

 taking into consideration the size of each position. Traders selling the collateral were instructed

 to, and did, treat the Lehman liquidation like a sale for a customer. See Costango Tr. (Ex. N), at

 75:11-20. The only difference of process to which Objectors can point is that the traders did not

 take fees or commissions on the trades, see Ex. N, at 75:17-20, a fact that underscores




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 JPMorgan’s commitment to maximizing the amount of proceeds that could be applied against the

 LBI Clearance Claim and LBHI Deficiency Claim, all to the benefit of Lehman.


                50.     As commercial practices dictated, the traders tailored the methods used to

 sell the collateral to the characteristics of each security and, rather than conduct fire-sale auctions

 for the collateral, used their professional experience and judgment to determine the best method

 for targeting likely purchasers. See Ex. N, at 122:14-20; Nat’l Hous. P’ship v. Mun. Capital

 Appreciation Partners I, L.P., 935 A.2d 300, 318 (D.C. 2007) (noting that use of “safe harbor”

 methods of section 9-507(2), predecessor to 9-627(b), would entail undertaking targeted research

 to identify members of the relevant industry most likely to be interested in the collateral as

 opposed to public advertising). Given the size of the portfolio and the concomitant potential to

 depress prices by flooding the market, the reasonable commercial practice was not to dump the

 securities into the market, as that would have triggered a public fire sale. It was eminently

 reasonable – and a best practice – to seek bids from potential purchasers the traders knew to have

 the appetite and ability to purchase the relevant securities.


                51.     JPMorgan’s liquidation of the LBI Securities Collateral accordingly

 satisfies the conditions of § 9-627(b)(3) of the N.Y. U.C.C. and is per se commercially

 reasonable.


                2.      Every aspect of JPMorgan’s liquidation was commercially reasonable

                52.     Even assuming arguendo that § 9-627(b)’s safe harbors do not apply,

 every aspect of JPMorgan’s sale of the LBI Securities Collateral was commercially reasonable,

 thereby satisfying § 9-610’s requirements. The central inquiry in the commercial reasonableness

 analysis is “whether the secured party ‘acted in good faith and to the parties’ mutual best



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 advantage.’” Coxall v. Clover Commercial Corp., 781 N.Y.S.2d 567, 574 (Civ. Ct. 2004)

 (internal quotation marks omitted); see also SNCB Corp. Fin. Ltd. v. Schuster, 877 F. Supp. 820,

 828 (S.D.N.Y. 1994), aff’d, 71 F.3d 406 (2d Cir. 1995) (“A commercially reasonable disposition

 makes a ‘good faith attempt to dispose of the collateral to the parties’ mutual best advantage.’”

 (internal quotation marks omitted)).


                   53.    JPMorgan had every incentive to sell the collateral for the highest

 recovery possible. As one treatise has noted:


                   In a world where the recovery of deficiency judgments is far from
                   certain, because the debtor is likely to be in Chapter 7 or to be without
                   funds, why would the creditor not conduct a sale in a way that is likely
                   to bring the best net price? If the probability of the recovery of a
                   deficiency is low, the creditor’s failure to conduct a proper sale falls
                   on the creditor, not on the debtor. Unless we are to say that creditors
                   are stupid (when the debtor cannot pay the deficiency), or vindictive
                   and mean spirited (when the debtor can pay), we fail to understand the
                   incentives for taking a low price and we see incentives for getting a
                   high price.

 4 James J. White & Robert S. Summers, Uniform Commercial Code § 34-11(e)(2), at 481-82

 (6th ed. 2010).


                   54.    Thus, motivated by well-founded concerns that the LBI Securities

 Collateral would not be sufficient to satisfy in full the LBI Clearance Claim and by concerns

 about the likelihood of recovering the deficiency fully from the LBHI Collateral, JPMorgan

 informed its traders that Project Tassimo was a priority and that it was very important to the firm

 that the traders use good-faith efforts to obtain appropriate prices for the securities. See Ex. N, at

 75:4-20, 115:14-116:2. Both the procedures used and the results achieved make evident

 JPMorgan’s good faith in attempting to dispose of the collateral to both Lehman’s and

 JPMorgan’s mutual best advantage.


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                        a.      JPMorgan used commercially reasonable procedures to
                                liquidate the collateral

                55.     JPMorgan employed commercially reasonable procedures to ensure that it

 received fair market prices for LBI’s collateral. Although there is “no magic set of procedures

 [that] will immunize the sale from scrutiny,” Coxall, 781 N.Y.S.2d at 574 (internal quotation

 marks omitted), the New York Court of Appeals has recognized that the U.C.C.’s commercial-

 reasonableness standard “invites consideration of accepted business practices as a guide to what

 is most likely to protect both debtor and creditor,” as “[c]ustoms and usages that actually govern

 the members of a business calling day-in and day-out not only provide a creditor with standards

 that are well recognized, but tend to reflect a practical wisdom born of accumulated experience.”

 Bankers Trust Co. v. J.V. Dowler & Co., Inc., 47 N.Y.2d 128, 134 (1979).


                56.     Objectors erroneously focus on the operations of JPMorgan’s Special

 Situation Group in arguing that the procedures used by JPMorgan to liquidate the LBI Securities

 Collateral were commercially unreasonable. Objectors thus allege that the SSG consisted of

 individuals with little or no experience in liquidating collateral, that the SSG did not create

 formal processes for the traders to follow, and that the SSG did not substantively review the

 trades. See Objection ¶¶ 44-45. This focus is misplaced. Professional traders in JPMorgan’s

 Investment Bank devised the strategy by which the LBI Securities Collateral would actually be

 sold and carried out the liquidation, see Ex. N, at 250:10-19, whereas the SSG served a

 “coordination role” that consisted largely of “data collection and reporting,” see Ex. N, at 69:23-

 71:4. Thus, the Objectors’ observations that SSG’s “Project Tassimo Trade Process and

 Procedure” memorandum addressed mainly administrative and information-flow issues and that

 the individuals in the SSG did not generally review trades substantively are both unremarkable

 and inapposite.


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                57.     There is no authority, and Objectors cite none, for the proposition that the

 qualifications and procedures of persons other than those actually responsible for disposing of

 collateral have any bearing on the commercial reasonableness of the disposition of collateral. To

 the contrary, courts have made clear that it is the liquidator’s procedures, and not those of a

 coordinator or any other person, that matter. See, e.g., First Nat’l Bank of Glens Falls v. G.F.

 Clear, Inc., 93 A.D.2d 925, 926 (3d Dep’t 1983) (“[I]t is the auctioneer’s practice in conducting

 the sale, rather than the bank’s, that should govern . . . .”). The liquidators in this case were

 professional traders in JPMorgan’s Investment Bank. Accordingly, only the traders’ procedures

 are relevant, and these were manifestly commercially reasonable.


                58.     The decision to use professional traders who were experienced in selling

 securities in the market to carry out the liquidation in accordance with their usual practices, and

 to entrust those traders with the responsibility to judge how best to target potential purchasers,

 was a commercially reasonable one. See, e.g., Ga.-Pac. Corp. v. First Wis. Fin. Corp., 805 F.

 Supp. 610, 617 (N.D. Ill. 1992) (sale of collateral using professional auctioneer familiar with

 collateral was commercially reasonable); AKA Mgmt., Inc. v. Branch Banking & Trust Co., 621

 S.E.2d 576, 580-81 (Ga. Ct. App. 2005) (relying in part on fact that secured party “utilized

 professionals in the industry to assist in the sale of the equipment” to affirm the commercial

 reasonableness of the sale under Georgia’s adoption of § 9-627 of the U.C.C.). Indeed, it would

 have been commercially unreasonable to have the less-experienced coordinators in the SSG

 direct the traders as to how they should sell the securities. See Laczko v. Toledo Trust Co., 1985

 WL 7507, at *6 (Ohio Ct. App. June 14, 1985) (sale of collateral by individual with no previous

 experience selling similar collateral was commercially unreasonable). Likewise, given

 JPMorgan’s in-house expertise and experience, it would have been commercially unreasonable



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 for JPMorgan to use a third-party agent, as Objectors claim should have been done, because

 doing so would have “required the bank to place unwarranted trust in . . . a third-party, incur

 significant additional expenses, or both, with little if any certainty that it would receive a greater

 return.” Panora State Bank v. Dickinson, 2006 WL 228882, at *3 (Iowa Ct. App. Feb. 1, 2006).


                59.     JPMorgan’s traders used commercially reasonable means to sell the

 collateral. Using their practical wisdom born of accumulated experience in selling securities,

 traders customized the process for selling each security in order to obtain the highest possible

 price for each security, including determining the best way to target potential purchasers for the

 LBI Securities Collateral. See Ex. N, at 107:4-20; 250:10-19. In certain instances, this meant

 that the trader reached out to select bidders who had the knowledge, appetite and resources to

 purchase the securities. JPMorgan traders also used their experience and professional judgment

 to evaluate the bids received by those bidders. Contrary to Objectors’ assertion that “no price

 was ever deemed too low,” see Objection ¶ 31, JPMorgan traders exercised pricing discipline not

 to sell securities at unreasonably low prices, as amply evidenced by the fact that, as of March

 2010, more than 850 securities remained unsold and were ultimately transferred to LBHI

 pursuant to the CDA. See supra ¶ 21.


                60.     Although Objectors label the use of targeted private sales as being

 commercially unreasonable, see Objection ¶¶ 60-61, this process is expressly permitted by the

 Uniform Commercial Code. Section 9-610 of the N.Y. U.C.C. “encourages private dispositions

 on the assumption that they frequently will result in higher realization on collateral for the

 benefit of all concerned.” N.Y. U.C.C. § 9-610 cmt. 2; see also Old Colony Trust Co. v. Penrose

 Indus. Corp., 280 F. Supp. 698, 713 (E.D. Pa. 1968), aff’d, 398 F.2d 310 (3d Cir. 1968) (private

 sale was commercially reasonable given judgment of broker in industry that private sale would


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 produce highest price). In the same vein, courts have recognized that targeting interested parties

 in the relevant industry is often the optimal way to maximize value, and is therefore

 commercially reasonable. See, e.g., L. Perrigo Co. v. Robins, 2009 WL 2095990, at *2, *4

 (W.D. Mich. July 14, 2009) (liquidation of collateral was commercially reasonable when

 auctioneer targeted marketing and communications toward prospective purchasers in relevant

 industry); Nat’l Hous. P’Ship, 935 A.2d at 318-321 (noting evidence that commercially

 reasonable way of selling partnership interests in multifamily properties was by contacting

 unique, specialized investor base through market participants and remanding for reconsideration

 whether use of public sale in this instance was commercially reasonable). In the context of the

 liquidation of the LBI Securities Collateral, given the size and nature of the securities being sold

 and the fragility of the markets at the time, the efforts of JPMorgan’s traders to identify and

 solicit bids from likely purchasers in private sales was commercially reasonable.


                61.     Moreover, N.Y. U.C.C. § 9-610(a) expressly permits collateral to be sold

 as a unit or in parcels. Thus, Objectors’ broad indictment of the process JPMorgan used in

 grouping certain securities misses the mark. It also ignores the fact that Lehman sold most of its

 remaining securities as a group to Barclays in a private sale and that this sale was authorized by

 an order of this Court. In instances in which JPMorgan’s traders determined that it was

 appropriate to sell certain low-quality, illiquid securities in groups, those transactions were

 commercially reasonable.


                62.     Thus, the procedures used by JPMorgan’s professional traders in selling

 the LBI Securities Collateral further demonstrate that JPMorgan disposed of the collateral in a

 commercially reasonable manner.




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                        b.      JPMorgan sold LBI Securities Collateral at commercially
                                reasonable prices

                63.     Even though the N.Y. U.C.C. makes clear that “the fact that a greater

 amount could have been obtained by a . . . disposition . . . at a different time or in a different

 method . . . is not of itself sufficient” to establish that the sale was not made in a commercially

 reasonable manner, N.Y. U.C.C. § 9-627(a), Objectors purport to object to JPMorgan’s claim by

 challenging the sale prices achieved in a handful of sales. In any event, in the overwhelming

 majority of instances, JPMorgan achieved high sale prices for the LBI Securities Collateral. And

 the limited cases in which JPMorgan sold at a price that Objectors now find objectionable are

 indicative only of the unrealistic nature of the Pre-Failure Marks, the poor collateral quality and

 the weak markets rather than of any defects in the sale process. See Appendix 1 annexed to this

 Response for more detailed responses to Objectors’ securities-specific objections.


                64.     As an initial matter, Objectors err in their choice of benchmarks against

 which to compare the sale prices JPMorgan obtained. The appropriate metric is the market value

 of the collateral at the time of sale. Cf. Morris v. Citibank, 1999 WL 461161, at *5 (S.D.N.Y.

 July 6, 1999) (rejecting debtor’s argument that sale price of collateral was commercially

 unreasonable because debtor relied on untimely and generalized valuations); First Fed. Sav. &

 Loan Ass’n of Rochester v. Romano, 253 A.D.2d 363, 364 (1st Dep’t 1998) (using more recent

 appraisal of fair-market value of collateral instead of original purchase price as benchmark

 against which to compare sale price). In contrast, as described supra ¶ 14, Objectors point to

 marks that were not reliable indicators of realizable market value. Objectors often refer to Pre-

 Failure Marks or other marks that were based on (i) stale market data, (ii) theoretical financial

 models rather than actual sales, (iii) ratings that were imminently to be downgraded, (iv)

 Lehman’s own inflated marks used to obtain financing, and (v) Lehman’s own pre-bankruptcy


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 ratings or creditworthiness. See Objection ¶¶ 49, 50, 66. In some instances, Objectors even cite

 the wholly irrelevant par values of subordinate and mezzanine tranches of CDOs as if those par

 values had any bearing on potential sale prices. Id. ¶ 68.


                  65.      However, even if the values obtained by JPMorgan are compared to the

 Pre-Failure Marks as of September 17, 2008, the majority of the proceeds obtained from such

 sales represent recoveries well in excess of 90% of the Pre-Failure Marks of the LBI Securities

 Collateral sold, and the aggregate proceeds represent recoveries near 90% of the Pre-Failure

 Marks of those securities. The recovery rates thus refute any inference of commercial

 unreasonableness, especially considering the extreme volatility and lack of liquidity in the

 markets at the time. See, e.g., Bankers Trust, 47 N.Y.2d at 135 (sale price of collateral that

 averaged more than 10% lower than prices at which collateral was purchased was “not surprising

 in light of the sharp drop in the published bond indexes”); First Fed. Sav. & Loan Ass’n of

 Rochester, 253 A.D.2d at 364 (“It has been held that bids ranging from as low as 30% and 37%

 of market value are not commercially unreasonable.” (internal citations omitted)).


                  66.      Indeed, the results of JPMorgan’s sales effort demonstrate a level of

 performance exceeding a commercial reasonableness standard. JPMorgan was left with the

 securities that Barclays declined to purchase, but achieved sales results that compare well with

 Lehman’s own negotiated, court-approved sale of the portfolio that Barclays chose to purchase.

 This Court has had the opportunity to review intensively the sale of securities to Barclays at

 approximately 89% of the Pre-Failure Marks8 in the context of the Barclays Rule 60(b) litigation.


 8
   The $45 billion sale price to Barclays expressed as a percentage of the $50.62 billion value attributed by Pre-
 Failure Marks to the Fed-financed securities portfolio as of September 17, 2008 is 88.9%. See 60(b) Decision, 445
 B.R. 143, 170. The 88% percent result ascribed to the proceeds of the JPMorgan sales is based on Pre-Failure
 Marks as of the same date.


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 It is submitted that the Court’s acceptance of the eminent reasonableness of obtaining 89% of

 Pre-Failure Marks, and its crediting the opinion that it is “almost inconceivable” that Lehman

 would have realized as much as it received from Barclays by selling the securities into the

 market, see 60(b) Decision, 445 B.R. at 183, strongly supports the reasonableness of the

 JPMorgan sales that achieved a comparable percentage of approximately 88%.


                67.     Poor collateral quality – including illiquid structured securities that were

 particularly unpopular in the risk-averse markets following Lehman’s failure – also played a role

 in the level of realization obtained from the sales of the LBI Securities Collateral. Courts have

 recognized that a low price “might simply reflect a greatly depreciated piece of collateral.” In re

 Excello Press, Inc., 890 F.2d 896, 905-06 (7th Cir. 1989) (citing Sumner v. Extebank, 88 A.D.2d

 887 (1st Dep’t 1982)) (applying New York law). For instance, in SNCB Corporate Finance Ltd.,

 the low sale price achieved was attributable to the fact that the value of the assets sold depended

 on the debtor’s parent company, which was experiencing financial difficulties at the time, and

 not the commercial unreasonableness of the sale. 877 F. Supp. at 828.


                68.     Here, the allegedly “low prices” were not a result of traders’ willingness to

 accept low prices, as Objectors suggest. See Objection ¶¶ 31, 46. When JPMorgan traders in

 fact received unreasonable low bids or saw no opportunity for acceptable sales, the securities

 were not sold and were ultimately transferred to LBHI under the CDA. The results that

 Objectors attack as “low prices” are attributable to unrealistic Pre-Failure Marks, the poor quality

 of the relevant securities, and adverse market conditions. In each instance, a number of factors

 may have contributed to a facially unfavorable-appearing sale transaction. A non-exhaustive

 response to the specific transactions criticized in the Objection is annexed to this Response as

 Appendix 1.


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                69.    In sum, the deficiency with which JPMorgan was left after the disposition

 of the LBI Securities Collateral was not a result of commercially unreasonable sales by

 JPMorgan. As the court in In re Emergency Beacon Corp. explained, a secured party “should

 not be faulted for being unable to turn vinegar into wine.” 48 B.R. 341, 349 (S.D.N.Y. 1985).

 Likewise, JPMorgan should not be faulted for its inability to match the unrealistic marks cited by

 Objectors for what Objectors themselves concede were extremely illiquid securities. See, e.g.,

 Objection ¶ 57 (“much of the LBI collateral liquidated by JPMorgan did not trade on an

 exchange and did not consist of ‘widely traded’ securities”); ¶ 59 (“the bonds were highly

 illiquid and were not subject to widely distributed price quotations”); ¶ 69 (“Most of the [CMO

 and ABS] collateral sold in this manner does not have any publicly available pricing information.

 . . . Objectors have been able to find Bloomberg pricing for only three.”)


                       c.      JPMorgan’s purchases of LBI Securities Collateral were
                               commercially reasonable

                70.    Finally, JPMorgan’s purchase of some of the LBI Securities Collateral

 does not render the disposition of the collateral commercially unreasonable.


                71.    As explained above, the vast majority of the LBI Securities Collateral was

 of a type sold on a “recognized market,” and therefore JPMorgan was not prohibited from

 purchasing the securities. See N.Y. U.C.C. § 9-610(c)(2). Additionally, any potential for “self

 dealing” was reduced by the instruction given to traders that, where bids were received, they

 could purchase securities generally only if they either matched or beat those bids. See Ex. N, at

 106:4-22. In fact, these procedures ensured that Lehman benefited from any purchase of any of

 the LBI Securities Collateral by JPMorgan because the proceeds from that purchase would be

 greater than had JPMorgan not purchased the security. Furthermore, JPMorgan’s willingness to



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 assume substantial risk and purchase LBI Securities Collateral in a generally weak, illiquid and

 strongly risk-averse market provided an important additional outlet to realize value from the LBI

 Securities Collateral and avoided further depressing the market, all to Lehman’s benefit. The

 sales were therefore consistent with JPMorgan acting in good faith and to the parties’ mutual

 advantage, and were accordingly commercially reasonable.


                72.     In those instances in which JPMorgan acquired LBI Securities Collateral

 in the absence of bids from other potential purchasers – for example, when the other bidders all

 passed on a particular security – the availability of widely accepted market prices for such

 securities will demonstrate that JPMorgan’s prices were fairly representative of value.


                                             POINT II

      ANY VALUE RECEIVED BY JPMORGAN FROM BARCLAYS SHOULD NOT
       REDUCE THE LBI CLEARANCE CLAIM AND LBHI DEFICIENCY CLAIM

                73.     Objectors assert that the any value received by JPMorgan in the SSA or

 December Settlement Agreement should be applied in reduction of the LBHI Deficiency Claim

 on the implausible ground that Barclays, not Lehman, was the sole cause of JPMorgan’s losses.

 This assertion is both factually and legally wrong, and amounts to a request for an unfair

 windfall.


                74.     In the December Settlement Agreement, JPMorgan and Barclays agreed

 that, among other things, Barclays would give up rights as plaintiff in the Lawsuit in satisfaction

 of certain claims against Barclays that were held by JPMorgan (and not by LBHI). Even on its

 face, this exchange to which LBHI was not a party has nothing to do with any amounts owed by




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 LBHI to JPMorgan, and LBHI should get no credit against JPMorgan for whatever value might

 have inhered in the cause of action that Barclays surrendered.


                75.     Objectors mischaracterize JPMorgan’s position that Barclays breached its

 representation that it would purchase all of the LBI Securities Collateral, with Lehman’s own

 contractual obligations to repay the financing secured by such collateral, which, if not fully

 performed or secured, would cause the loss. Any consideration received from Barclays was in

 satisfaction of Barclays’ liability for failing to purchase (or provide replacement financing for)

 all of the LBI Securities Collateral; the consideration does not satisfy Lehman’s contractual

 obligations to pay the financing.


                76.     Lehman is the cause of, and responsible for, the deficiency claim here.

 Barclays is not obligated to pay the claim. The deficiency claim at issue here is the excess of the

 amount of the credit extended by JPMorgan to LBI over the amount realized by JPMorgan from

 LBI Securities Collateral, together with interest and related amounts on such claim. The LBI

 Clearance Claim arises from LBI’s failure to perform its contractual obligation under the

 Clearance Agreement to pay such claim; similarly, the LBHI Deficiency Claim arises from

 LBHI’s failure to perform its contractual obligation under the August Agreements and

 September Agreements to pay such claim. The proofs of claim challenged by the Objection

 assert the LBI Clearance Claim and LBHI Deficiency Claim, respectively, as contract claims.


                77.     The LBI Clearance Claim and LBHI Deficiency Claim are debts of LBI

 and LBHI, respectively. They are not debts of Barclays, and JPMorgan has never contended that

 they were debts of Barclays. Indeed, the initial proposed transaction for Barclays to acquire

 LBHI’s operating subsidiaries failed on September 14, 2008, when Barclays’ principal regulator



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 failed to waive a shareholder vote requirement needed to authorize Barclays to guarantee LBI’s

 obligations, including the LBI Clearance Claim. See Report of Anton R. Valukas, Examiner, In

 re Lehman Bros. Holdings Inc., No. 08-13555 (JMP), Vol. 4, at 1526-29 (Bankr. S.D.N.Y. Mar.

 11, 2010) (Ex. Q). Moreover, Barclays refused JPMorgan’s request made during the week of

 September 15, 2008, that Barclays guarantee LBI’s obligations.


                78.    Similarly, when JPMorgan transferred to Barclays the alleged $5 billion

 margin referred to in paragraphs 76 and 77 of the Objection, the margin came from securities

 accounts maintained by LBI at JPMorgan and the transfer was made at the instruction of LBI, as

 the account owner. JPMorgan has never contended that it acted – and it did not act – at

 Barclays’ instruction, and Barclays would have had no right to give such an instruction.


                79.    JPMorgan does contend, however, that Barclays represented that it had

 agreed with Lehman that JPMorgan’s financing of LBI’s securities would be fully taken out by

 Barclay’s own purchase and financing. JPMorgan’s position has consistently been that Barclays

 was liable to JPMorgan for failing to consummate a purchase or financing that would have

 produced sufficient proceeds for LBI to eliminate JPMorgan’s clearance exposure. But

 Barclays’ liability to JPMorgan for breach of its own representation is wholly separate from

 LBI’s contractual obligation to pay the LBI Clearance Claim.


                80.    The situation is closely analogous to an agreement to purchase a claim –

 the purchaser (Barclays) may be obligated to purchase the claim from the holder of the claim

 (JPMorgan), but the purchaser does not by such agreement become obligated to the holder to pay

 the claim. The payment of the purchase price for the claim by the purchaser to the holder is not a

 payment of the underlying claim; indeed, the purchaser typically purchases the claim to become



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 the new holder of the claim without any reduction of the claim amount. See, e.g., Moulded

 Prods, Inc. v. Barry (In re Moulded Prods., Inc.), 474 F.2d 220, 224-225 (8th Cir. 1973), cert

 denied, 412 U.S. 940 (1973) (refusing to limit claim purchaser’s claim to amount of

 consideration it paid); In re Exec. Office Ctrs., Inc., 96 B.R. 642, 649 (Bankr. E.D. La. 1988)

 (“The courts have repeatedly refused to limit a creditor’s claim to the discounted purchase price

 where the court found that the facts did not create a fiduciary status or breach of fiduciary duty.”

 (collecting cases)); cf. In re W.T. Grant Co., 4 B.R. 53, 77 (Bankr. S.D.N.Y. 1980), aff’d, 699

 F.2d 599 (2d Cir. 1983) (acknowledging that “post-bankruptcy purchasers of debt securities of

 an entity in bankruptcy obtain allowable claims equal to the face amount of such securities,

 provided that such purchasers owe no fiduciary obligations to the debtor, other creditors or

 shareholders of the debtor, and have not acquired the debt securities through fraud,

 misrepresentation or any other form of overreaching” (collecting cases)). Of course, the failure

 of the purchaser to consummate the purchase may give rise to a cause of action by the holder for

 breach of contract, but, just as the payment of the purchase price does not reduce the underlying

 claim, the payment of damages for breach of the purchase agreement is not a payment of the

 underlying claim and does not reduce the claim. Thus, the value of any consideration paid by

 Barclays to JPMorgan does not affect the amount of JPMorgan’s claim against LBI (or LBHI)

 for the unpaid financing.


                     81.      The cases cited in paragraphs 78 through 80 of the Objection are all

 therefore inapposite. All of those cases stand for the proposition that a claim should be reduced

 by prior payments or other consideration received in direct satisfaction of such claim—an

 unremarkable prohibition against double recovery on a single claim.9 None of the cases cited by


 9
     Those cases are, in order of citation in the Objection, Jason v. Carpet Cleaning, Inc. (In re Jason), 2007 WL


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 Objectors, however, stands for the proposition that an amount paid in satisfaction of a breach of

 an agreement to purchase, acquire or replace a loan or other claim should be applied to reduce

 the loan or other claim. JPMorgan has discovered no such case, and there is no reason to believe

 that any such case exists because it would be totally illogical. Using the instant case as an

 example, to the extent Barclays provided any value (which, as explained below, is far from clear)

 to JPMorgan in consideration of its breached agreement to purchase all of the LBI Securities

 Collateral (or provide replacement financing), Barclays was paying its own liability to

 JPMorgan, not Lehman’s obligations.


                  82.      Objectors’ half-hearted reference to New York General Obligations Law

 section 15-108 dealing with joint tortfeasors is similarly unavailing. The LBI Clearance Claim

 and LBHI Deficiency Claim are clearly stated as contract claims, not tort claims, so the provision

 is simply inapplicable.


                  83.      Regardless of JPMorgan’s ultimate recovery on the LBI Clearance Claim

 and LBHI Deficiency Claim, Barclays’ breach caused JPMorgan to incur substantial costs and

 expenses and dedicate substantial resources to collect the claims from the unpaid financing and

 to liquidate the LBI Securities Collateral, much of which JPMorgan is not seeking to recover


 4553608, at *5 (Bankr. E.D. Va. Dec. 19, 2007) (postpetition partial payment by debtor’s bankruptcy trustee of
 debtor’s obligation reduced the remaining amount of the obligation); Moore v. Driggers (In re Morgan), 2003 WL
 1728667, at *1 (Bankr. S.D. Ga. Mar. 14, 2003) (claims by co-guarantors); PNC Bank, Nat’l Ass’n v. Park Forest
 Dev. Corp. (In re Park Forest Dev. Corp.), 197 B.R. 388, 397 (Bankr. N.D.Ga. 1996) (payment of a claim by debtor
 reduces guarantor’s obligation on same claim); In re Pilgrim’s Pride Corp., 453 B.R. 691 (Bankr. N.D. Tex. 2011)
 (debtor’s prior settlement with former counterparty barred all subsequent claims against debtor by same
 counterparty); United States v. Oakland City Apartments (In re Oakland City Apartments), 1 B.R. 123, 124-25
 (Bankr. N.D. Ga. 1979) (ordering hearing to determine value of foreclosure properties to prevent excess recovery on
 claims); In re Circuit City Stores, Inc., 426 B.R. 560, 578-79 (Bankr. E.D.Va. 2010) (temporarily disallowing
 creditors’ administrative expense claims pending determination of avoidance claims against the same creditors); In
 re El Paso Ref. Inc., 192 B.R. 144, 148-49 (Bankr. W.D. Tex. 1996) (ordering additional proceedings to determine
 value rendered by primary obligor to creditor prior to determining guarantor’s liability on same claim to creditor);
 Cent. Soya Co. v. Epstein Fisheries, Inc., 676 F.2d 939, 941-43 (7th Cir. 1982) (same).



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 from Lehman. Thus, there is no prospect for a double recovery in any event. Moreover, if

 JPMorgan ultimately does not recover fully on the LBI Clearance Claim and LBHI Deficiency

 Claim, any reduction of JPMorgan’s claims would simply aggravate JPMorgan’s losses under

 the mantle of preventing an imaginary double recovery.


                84.     In addition, Objectors’ description of the settlement between JPMorgan

 and Barclays is wrong in several fundamental respects. Objectors assert that JPMorgan released

 its claims against Barclays relating to the $15.8 Billion Repo (which might have been part of a

 replacement of JPMorgan’s financing had Barclays lived up to its representation) pursuant to a

 provision of the SSA quoted at paragraph 73 of the Objection. But, as discussed above, this

 portion of the SSA was never consummated and the parties agreed in the December Settlement

 Agreement that the provision of the SSA on which Objectors relied was superseded and of no

 further force or effect. The Lawsuit was released in the December Settlement Agreement, but as

 part of a settlement resolving the rights of Barclays, JPMorgan and the LBI Trustee to the

 Subject Funds, the Replacement Transaction and the Delivered Securities, as well as claims

 relating to triparty repos with LBI. See Ex. K, §§ 4(b), (c), (e). The December Settlement

 Agreement expressly specified what amounts were and were not applied to the LBI Clearance

 Claim, see Ex. K, § 2, and nothing in the December Settlement Agreement even remotely

 suggests that any value for the Lawsuit should be applied against the LBI Clearance Claim. The

 December Settlement Agreement states that it confers no rights on LBHI or any other non-party,

 and constitutes the entire contract among the parties relative to the subject matter thereof. See

 Ex. K, § 5.


                85.     Finally, any value of the Lawsuit was at most nominal. JPMorgan

 admitted no liability with respect to the causes of action contained in the Lawsuit. The value


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 attached to the Lawsuit by Objectors is based on the damages sought and does not reflect any

 evaluation of the actual strengths and weaknesses of the causes of action.


                                                   POINT III

                  JPMORGAN’S INTEREST CLAIM SHOULD BE ALLOWED

                  86.      Objectors assert that JPMorgan’s claim for postpetition interest should be

 disallowed on two grounds: (1) If Objectors prevail in the Adversary Proceeding to avoid

 JPMorgan’s interest in the LBHI Cash Collateral, then JPMorgan will not be oversecured and

 will not be entitled to interest under Bankruptcy Code section 506(b); and (2) Equity requires

 disallowance of the postpetition interest claim. Objectors are wrong on both grounds.


 A.      JPMorgan is not undersecured

                  87.      Objectors’ avoidance argument is plainly premature. There has been no

 ruling on the avoidance issue in the Adversary Proceeding. JPMorgan has moved to dismiss the

 Amended Complaint because, among other grounds, the preference and constructive fraudulent

 transfer actions relating to the LBHI Deficiency Claim are plainly barred by the safe harbors

 against avoidance contained in Bankruptcy Code section 546(e), (f), (g), and (j), and Objectors

 have not stated a cause of action for actual fraudulent transfer.

                  88.      But even assuming arguendo that Objectors were to prevail in the

 Adversary Proceeding, JPMorgan may still be oversecured as to the LBI Clearance Claim. In

 accordance with the “true-up” provisions contained in Section 6 of the CDA, the secured status

 of JPMorgan’s claims

                  shall be determined as if [JPMorgan] had (i) retained its Lien, if any,
                  against all of the Transferred Collateral10 (rather than transferring or
 10
    The “Transferred Collateral” is the unsold securities transferred by JPMorgan to LBHI pursuant to the CDA, and
 includes RACERS, Fenway, Spruce, Verano, Pine, Kingfisher, SASCO and more than 850 other securities.


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                    releasing such Lien pursuant to this Agreement), and (ii) realized at the
                    time of the Cash Payment proceeds from the sale of the Securities
                    Collateral equal in amount to the portion of the Cash Payment received
                    by [JPMorgan], it being understood that the transfer of the Cash
                    Payment does not increase the value of the Collateral for purposes of
                    determining which claims are allowed secured claims.

 Ex. I, § 6. In other words, if JPMorgan’s security interest in the LBHI Cash Collateral is

 avoided, the LBHI Deficiency Claim will still be treated as secured to the extent of the value of

 the unsold securities collateral transferred to LBHI under the CDA, less the amount of the CDA

 Cash Payment. Objectors contend in the Adversary Proceeding and the Objection that JPMorgan

 was oversecured before it obtained the LBHI Cash Collateral. See Objection ¶ 19; Amended

 Complaint ¶¶ 45, 62, 68, 69. If Objectors are correct in that contention, JPMorgan would have

 an allowed claim for its postpetition interest under section 506(b) to the extent that the value of

 the Transferred Collateral exceeds the unpaid amount of the LBI Clearance Claim.


 B.      JPMorgan’s interest claim is neither inequitable nor subject to disallowance

                    89.    Objectors’ argument that JPMorgan’s postpetition interest should be

 disallowed on equitable grounds ignores controlling Supreme Court precedent and disregards the

 pertinent facts.


                    90.    If JPMorgan is oversecured, it is entitled to postpetition interest under

 section 506(b) of the Bankruptcy Code to the extent the value of its collateral exceeds the

 amount of its prepetition claim. In United States v. Ron Pair Enterprises, Inc., 489 U.S. 235,

 241-45 (1989), the Supreme Court considered section 506(b) of the Bankruptcy Code and found

 that the entitlement to postpetition interest is “unqualified” and is to be paid on all oversecured

 claims. In other words, section 506(b)’s mandate that “there shall be allowed” postpetition

 interest on an oversecured claim means exactly what it says. The Supreme Court expressly noted



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 that section 506(b) is a clear codification that contravenes case law under the former Bankruptcy

 Act permitting courts’ equitable powers to intrude on the allowance of postpetition interest. Id.

 at 248.


                 91.     There is no general equitable exception to section 506(b). Indeed, the

 principal case cited by Objectors makes precisely this point. In In re Lapiana, 909 F.2d 221 (7th

 Cir. 1990), the Court of Appeals stated:

                 We deprecate flaccid invocations of “equity” in bankruptcy
                 proceedings. Creditors have rights, among them the right of
                 oversecured creditors to post-petition interest, and bankruptcy judges
                 are not empowered to dissolve rights in the name of equity. Flexible
                 interpretation designed to allow the judicial interpolation of traditional
                 defenses in a statute silent on defenses is one thing; standardless
                 decision-making in the name of equity is another. Ron Pair makes
                 clear that section 506(b) provides more than merely “guidance in the
                 exercise of [the bankruptcy court’s] equitable powers.” 109 S.Ct. at
                 1034. If the statute were read merely to authorize the bankruptcy
                 judge to award post-petition interest as a matter of grace, secured
                 creditors would lack a clear idea of what their rights would be if the
                 debtor went broke.

 Id. at 224 (alteration in original).

                 92.     The Court of Appeals acknowledged in Lapiana that well-recognized

 defenses such as estoppel and statute of limitations might apply, but it flatly declined the

 invitation “to create a new equitable defense: lack of diligence by senior lienors.” Id. The

 Seventh Circuit’s rationale for doing so fully applies here. In Lapiana, a junior lienor sought to

 have the postpetition interest of the senior lienor (the Internal Revenue Service) disallowed

 because the senior lienor had allegedly not been sufficiently diligent in obtaining the collateral

 proceeds. The Court refused to apply the defense of estoppel because there was no showing that




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 the senior lienor was deliberately stalling, and the applicable interest rate was “not princely.”11

 Id. Furthermore, the Court declined to create a new “watered-down” version of equitable

 estoppel, noting that it would “complicate the law needlessly by requiring a searching and often

 inconclusive inquiry into the relevant fault of a debtor and creditor.” Id. In Lapiana, the Court

 noted that such an inquiry would have to delve into the failure of the junior lienor to attempt to

 cause the proceeds to be applied. Id. at 224-25. Here, the Court would have to consider the role

 of Objectors in discouraging, rather than facilitating or even requesting, the application of the

 LBHI Cash Collateral, as discussed below. No such novel and unprecedented equitable defense

 should be created here.

                  93.      The other cases cited by Objectors do nothing to support their position.

 Rozel Indus., Inc. v. Internal Revenue Serv. (In re Rozel Indus, Inc.), 120 B.R. 944, 954 (Bankr.

 N.D. Ill. 1990) held that the Internal Revenue Service would be deemed to have set off a refund

 against the debtor’s taxes six months after the submission of the request for the refund, and

 therefore was only entitled to post-petition interest until that date, because the Internal Revenue

 Code required the Service to respond by that time. Not only does no such statute exists here, but

 the consideration of whether the IRS intentionally withheld funds was relevant only to the

 question of when a setoff was deemed to have occurred, an issue that is wholly absent from this

 case. In Solomon v. Wein (In re Huhn), 145 B.R. 872, 878 (W.D. Mich. 1992), the court

 disallowed postpetition interest based on equitable estoppel where the failure to apply the

 proceeds earlier to the outstanding debt was solely attributable to delay caused by the creditor’s

 unreasonable refusal to supply an adequate accounting. No such showing can be made here. As




 11
          The rate in Lapiana was the Treasury bill rate plus 3% per annum, which is higher than the rate charged
 here by JPMorgan. Id.


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 discussed below, Objectors discouraged JPMorgan from applying the LBHI Cash Collateral and,

 if Objectors are correct, JPMorgan was statutorily stayed from doing so.


                94.     Nonetheless, Objectors assert that JPMorgan’s statutorily mandated

 postpetition interest should be disallowed on equitable grounds. Not only do they ignore the

 Supreme Court precedents, Objectors even omit the information that would be most relevant to

 the equitable decision that they contend is applicable. For example, Objectors do not provide

 any description of the calculation of the postpetition interest claim to which they object — other

 than to assert that “JPMorgan was charging interest at an incorrectly high level,” see Objection

 ¶ 88 — even though JPMorgan fully disclosed to them the applicable rates and manner of

 calculation.


                95.     JPMorgan’s rates were, in fact, fair and reasonable. JPMorgan calculated

 the postpetition interest at the Effective Federal Funds Rate (the “EFF”) plus 2% per annum,

 with a small price and volume adjustment. Interest was charged on the outstanding overdraft

 balance from September 22, 2008, through March 31, 2010, when the claim was fully paid

 pursuant to the CDA. The average EFF was 1.3804% per annum for the eight days during

 September 2008. Thereafter, the EFF charged was always less than 1% per annum and, notably,

 was less than 0.2% per annum for the entire period from December 2008 through March 2010.

 The weighted average EFF applied to the LBHI Deficiency Claim was 0.2388% per annum.

 Certainly, the interest rate is not so high as to compel an equitable remedy.


                96.     Objectors also fail to mention that JPMorgan gave LBHI an earnings

 credit for its cash collateral balances at the EFF, less an adjustment for FDIC reserves charges.




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 And, of course, the portion of the money market funds posted as LBHI Cash Collateral continued

 to earn interest during the relevant period.


                97.       Objectors also baselessly allege that “JPMorgan routinely delayed the

 application of proceeds from the sales of securities.” See Objection ¶ 88. In fact, commencing

 in November 2008 JPMorgan applied available securities proceeds against the outstanding

 overdraft on a monthly basis (except for two months during which the amount of proceeds had

 tailed off). And, had LBHI not interfered with the payment of cash flow from Fenway and

 RACERS, the LBHI Deficiency Claim would have been further reduced and, thus, would have

 accrued less interest.


                98.       Moreover, Objectors fail to own up to their role in discouraging JPMorgan

 from applying the LBHI Cash Collateral to the LBHI Deficiency Claim and thereby pro tanto

 stopping the running of interest. For example, Objectors made it clear to JPMorgan that they

 preferred that JPMorgan’s claim be paid from LBI’s collateral, and erected obstacles to

 application of the LBHI Cash Collateral. See Ex. J (requiring prior notice to Objectors of any

 liquidation of the LBHI Cash Collateral so that Objectors could seek to block it). At no time did

 Objectors or any other party in interest ever request that JPMorgan apply the LBHI Cash

 Collateral to the LBHI Deficiency Claim. Indeed, Objectors assert in the Adversary Proceeding

 that JPMorgan violated the automatic stay when it applied LBHI Cash Collateral to other safe

 harbor claims. See Amended Complaint, Counts XXXIII, XXXIV. No doubt, Objectors would




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 now be taking the position that JPMorgan violated the automatic stay if it had applied the LBHI

 Cash Collateral to the LBHI Deficiency Claim before the closing under the CDA.12

                  99.      Thus, even if the language of Bankruptcy Code section 506(b) and Ron

 Pair permitted such equitable disallowance (and they do not), there is simply no equitable reason

 to consider disallowing JPMorgan’s postpetition interest claim.


                                                    *     *      *


                  100.     JPMorgan requests further proceedings, including as appropriate a motion

 for summary judgment and an evidentiary hearing following discovery, to address the legal

 and/or factual issues raised in the Objection and this Response.


                  101.     For the foregoing reasons, JPMorgan requests that the LBHI Deficiency

 Claim be allowed in full and that it be granted such other relief as may be appropriate.


 Dated: New York, New York                                       WACHTELL, LIPTON, ROSEN & KATZ
        November 15, 2011

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 12
     Paragraph 14 of this Court’s order dated March 24, 2010 approving the CDA, D.I. 7785, lifted the automatic stay
 to the extent necessary to permit such application in accordance with the CDA.


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